
PER CURIAM.
We reverse the non-final order of the trial court denying appellant’s motion to quash service of process by publication. The record reflects that appellant is a Florida resident who was absent from the state at the time of the single attempt at service of process. In the face of the explanation in the sheriff’s return, as per information supplied by a neighbor, and considering the acknowledgment in the plaintiff’s affidavit that the defendant’s mailing address remained at her home residence, it was incumbent upon the plaintiff to show why compliance with section 49.041(3)(c), Florida Statutes, was not required. Simply stating that the defendant’s residence is unknown and that one attempt was made at service is insufficient under these circumstances. Cf. Taylor v. Lopez, 358 So.2d 69 (Fla. 3d DCA 1978).
LETTS, STONE and POLEN, JJ., concur.
